                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                        Plaintiff,

       v.                                                    Case No. 02-CR-147

TRENISE CAROL BLAYLOCK,

                       Defendant.


                                DECISION ON LIMITED REMAND

       This case is before the court following the June 28, 2005, LIMITED REMAND order

of the Seventh Circuit Court of Appeals, for consideration of whether a different sentence

should be imposed on the defendant under the now-advisory United States Sentencing

Guidelines. As a consequence, this court has considered the memorandum filed by defense

counsel on July 29, 2005, the pro se re-sentencing memorandum filed by the defendant on

September 6, 2005, in addition to the records and files in this case. Therefore, the court

notes the following.

       The defendant’s sentencing hearing was held on February 20, 2003. At that time, this

court determined that she was at Offense Level 25 and Criminal History Category I.

Moreover, the court found that joint and several restitution totaling $19,008.53 should be

paid to the Guardian Credit Union and Kelvin Morgan for losses that they incurred as a result

of the robbery underlying the defendant’s conviction. The government asked this court to

grant the defendant a two level downward departure because she had provided the

government with substantial assistance in the prosecution of others. The defendant argued

for a three level departure. In sentencing the defendant, this court found that the defendant

had provided substantial assistance to the government, granted the government’s motion

for a downward departure under U.S.S.G. § 5K1.1, then departed downward three levels,

as the defendant requested.


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       As a result, this court committed the defendant to the custody of the United States

Bureau of Prisons for two concurrent forty-one month terms as to Counts one and two of

the indictment charging her with Armed Bank Robbery and Conspiracy to Commit Armed

Bank Robbery. A consecutive term of one-hundred twenty months was imposed as to

Count three of the indictment for Use of a Firearm During a Crime of Violence, as required

by statute, for a total sentence of one-hundred sixty-one months.          Additionally, the

defendant was placed on supervised release for a term of five years as to count one, three

years as to count two and five years as to count three, with all supervised release to run

concurrently, for a total of five years. Joint and several restitution was ordered to be paid

to the Guardian Credit Union in the amount of $18,303.53 and to Kelvin Moran in the

amount of $705.

       Subsequently, the United States confessed error in Seventh Circuit Case No. 03-

2325, United States v. Weylin M. Shurn, a co-defendant, regarding the loss calculation

underlying his joint and several restitution order. Therefore, the Court of Appeals vacated

Weylin Shurn’s judgment of conviction on June 24, 2004, and remanded his case for re-

sentencing. As a consequence, Weylin M. Shurn was resentenced on June 3, 2005, and

restitution was ordered in the amount of $4,542.80.

       In view of the foregoing, this court would not impose a different sentence on

defendant Blaylock under the now-advisory guidelines, except as to the restitution order

which requires this defendant to pay restitution of $19,008.53 rather than $4,542.80.

       Dated at Milwaukee, Wisconsin, this 2nd day of November, 2005.

                                                         BY THE COURT


                                                         s/ C. N. CLEVERT, JR.
                                                         C. N. CLEVERT, JR.
                                                         U. S. District Judge




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